Case 1:03-cr-10090-.]DT Document 50 Filed 06/06/05 Page 1 of 2 Page|D 51

IN THE UNITED sTATEs DIsTRIcT coURT F"`-ED a‘,»“______~____uc
FoR THE wEsTERN DISTRICT oF TENNESSEE '

EAsTERN DIvI sIoN 05 Ju~ "5 AH 9: 33
%GSL..FH` R
CLERK FU_S TNDiD{S~|-CT
UNITED STATES OF AMERICA W.D TNJAC}@ON
VS. CaSC NO. lZO3-10090-01-T
HEATHER LEE
ORDER TO SURRENDER

Defendant, Heather Lee, #1963 7-076, having been sentenced in the above
styled matter to the custody of the Bureau of Prisons, and having been granted leave by
the Court report to the designated institution at his own expense, is hereby ordered to
surrender himself to the Bureau of Prisons by reporting to: Lexington FMC SCP, 3301
Leestown Road, Lexington, KY 40511; 859-255-6812; no later than 12:00 Noon on ,
June 16, 2005.

It is further ordered that upon receipt of a copy of this order, the defendant shall
sign and return the copy, to acknowledge receipt of said order and that he will report as
directed to the above named institutionl

IT IS SO ORDERED.

 

 

 

Thls document entered on the dockets l lie
with Ru1e 55 end/or 32(b) FRCrP on M

§O

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 50 in
case 1:03-CR-10090 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listedl

ENNESSEE

 

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jacl<son7 TN 38301

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Honorable J ames Todd
US DISTRICT COURT

